
The Court were not unanimous in their opinions. Brockenbrough, Parker and Saunders, were of opinion that the Justice had jurisdiction, and that the Prohibition ought not to be awarded. 1. Because the debtor, by his own act, severed the debt, for which he might have a good reason, without aiding in the supposed design of the creditor to act in fraudem legis; his motive probably, was to gain time, by installing the debt; having consented to this *48act, he could not complain that the Justice would take jurisdiction, for volenti non fit injuria. Nor could it be said, that his consent gave the jurisdiction. His consent was only to the severance; after that, the Law gives the jurisdiction. 2. In this case, the bills were payable at different times. The right of action accrued on the first note, the day after its date; on the second, one month after its date, &amp;c. Now, on the first note, if the Justice had issued his warrant, on the day after it became due, could the Defendant object to his jurisdiction, because there were other notes due from him to the same Plaintiff, payable at a future time? Could the Justice, in such case, be compelled to stay his hand, and the Plaintiff be thereby compelled to wait till all were due, before he could proceed on one? Certainly not. If, then, he had jurisdiction at that time, how does it happen that his jurisdiction ceases, because the Plaintiff chooses to indulge the Defendant till all are due?
However, the rest of the Court, being a large majority, believing that the authorities, and arguments of the Counsel were unanswerable, gave the following judgment:
“The Court having seen and inspected the record in this Case, and maturely considered the questions adjourned, doth decide, that the Justice in the said record mentioned, had not jurisdiction to render the several judgments therein also mentioned; and that the satisfaction of the said judgments by executions at the time when a Writ of Prohibition was moved for, ought not to prevent the awarding of such Writ, as it appears by the said record, that the money so made, remained at the time of making the said motion, in the hands of the Constable, and that he had notice not to pay it over. Which is ordered to be certified to the said Superior Court.”
